919 F.2d 140
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.ESTATE OF Jeffrey CORTRIGHT, Plaintiff-Appellant,v.CITY OF LAINGSBURG, a Municipal Corporation, JamesSwarthout, in his capacity as Chief of Police,Scott Rose, individually and in hiscapacity as a police officer,Defendants-Appellees,Gary Lippert, Defendant.
    No. 90-1261.
    United States Court of Appeals, Sixth Circuit.
    Dec. 5, 1990.
    
      1
      Before BOYCE F. MARTIN, Jr. and NATHANIEL R. JONES, Circuit Judges, and EDGAR, District Judge.*  
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    
      
        *
         The Honorable R. Allan Edgar, U.S. District Court for the Eastern District of Tennessee, sitting by designation
      
    
    